                                Case 13-26982     Doc 93     Filed 09/17/20      Page 1 of 3
Entered: September 17th, 2020




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                               at Baltimore

         In re:                                                  Case No.: 13-26982−MMH
                                                                 Chapter: 11
         Christian Jorgen Madsen
         Jill Flanagan Madsen,
                          Debtors.

                  ____________________________________________________________________

                                  PROTOCOL FOR CONDUCT OF HEARING BY
                                  TELECONFERENCE OR VIDEOCONFERENCE
                                            (as of May 22, 2020)


         Under certain circumstances, the Court may authorize a hearing to proceed telephonically or by
         videoconference. Although typically used in only certain non-evidentiary matters and matters in
         which all parties are represented by counsel, the Court may, in its discretion, use telephonic or
         video hearings in additional situations if warranted under the circumstances. If the Court sets a
         telephonic or video hearing, the following procedures apply, as well as any additional procedures
         announced prior to or during a hearing in any given case.


         I.        Connecting to Hearing

                   Each individual who is participating in a telephonic or video hearing must register for the
                   hearing by emailing the individual’s name, affiliation, and the case number to the
                   Courtroom Deputy at Hearings_MMH@mdb.uscourts.gov. Registration must be
                   completed at least 72 hours prior to the start time of the hearing (unless the emergency
                   nature of any given hearing makes such timing impractical). Each individual who registers
                   for the telephonic or video hearing will receive connection information for the hearing at
                   least 4 hours prior to the start time of the hearing (unless the emergency nature of any given
                   hearing makes such timing impractical).



                                                        Page 1 of 3
                 Case 13-26982        Doc 93      Filed 09/17/20     Page 2 of 3




       Note: Following proper registration, the Court may direct non-party individuals to a
       separate listen-only conference line depending on the nature of the given hearing.

       Each individual must connect to the telephonic or video hearing at least 10 minutes prior
       to the start time of the scheduled hearing.

       The Court will create an official recording of the telephonic or video hearing. No party
       (other than the Court) may record or otherwise capture the audio or video of the hearing
       in any manner.


II.    Announcement of Participation

       After the Courtroom Deputy has called the case, she will ask all individuals on the
       telephone or video to enter their appearance. Each individual who has connected to the
       hearing must announce his or her participation in the hearing, providing full name,
       affiliation, and the names of any other individuals watching or listening to the hearing
       through that participant’s connection.

       In general, appearances should be entered in the following order: (i) all parties associated
       with the Movant (or the Debtor if general status hearing); (ii) all parties associated with the
       Respondent (or Creditor if general status hearing); (iii) all parties associated with the case
       trustee, if any; (iv) all parties associated with the U.S. Trustee, if any; and (v) any other
       individuals connected to the hearing. The Courtroom Deputy will review this order with
       participants before commencing the hearing.

       To ensure full transparency, the presiding Judge will identify all members of the Court
       participating in the hearing. In addition, the Judge or the Courtroom Deputy may pause the
       hearing to take a roll call if the video or conference line indicates the addition or deletion
       of a participant. Participants should email the Court at Hearings_MMH@mdb.uscourts.gov
       or call the Court at 410.962.2820 if they experience any technical issues during the hearing,
       including if they are disconnected or cannot enter the hearing.

       During the hearing, parties must identify themselves before speaking. Parties also should
       announce their joining or rejoining if the hearing is in progress and, if necessary, request
       permission to leave or disconnect prior to the end of the hearing (as they would in the
       courtroom).

       All participants are asked to place their lines on mute before and during the hearing,
       unless they are speaking or about to speak.


III.   Substance of Hearing

       The Court generally anticipates that most telephonic or video hearings will consist
       primarily of status reports or oral argument by counsel. To the extent parties need to submit

                                             Page 2 of 3
                Case 13-26982       Doc 93     Filed 09/17/20     Page 3 of 3




      evidence to support their respective positions, they must file on the docket affidavits and
      authenticated documentary evidence (and serve the same via electronic mail on opposing
      counsel) at least 24 hours prior to the hearing. Any affidavits should meet the standards
      of Civil Rule 56(c)(4), made applicable to bankruptcy matters by Bankruptcy Rule 7056,
      even if the matter does not involve a motion for summary judgment. Parties also are
      encouraged to consult with opposing counsel prior to the hearing regarding any evidentiary
      objections. The parties should coordinate the presentation of witness testimony and
      documentary evidence during the telephonic or video hearing with the Courtroom Deputy
      at least 24 hours prior to the hearing.


IV.   Compliance

      Telephonic and video appearances by multiple participants are only possible when there is
      compliance with every procedural requirement. Sanctions may be imposed when there is
      any deviation from the required procedures or the Court determines that an individual’s
      conduct makes telephonic or video appearances inappropriate.




                                          Page 3 of 3
